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                        UN ITED STA TES DISTRICT C OU RT FOR TH E
                             SO UTHERN D ISTRICT O F FLO RIDA

                           CaseN um ber:11-20279-CR -M A R TlN EZ

 UN ITED STATES OF A M ERICA ,

         Plaintiff,
 V S.

 IRINA DOM KOVA,

         Defendant.
                                           /

        O R DER A DO PTING M A G ISTM TE'S R EPO R T AN D R EC O M M END A TIO N

        THISCAUSE cam ebeforetheCourtupontheReportr dRecomm endationissuedbyunited

 StatesM agistrateJudge PeterR.Palerm o,on January27,2012.TheReportand Recomm endations

recomm endstothisCourqthatcounselStuartAdelstein,Esquirebepaid$28,697.50asfairand final

 compensation forhiswork in this case. Accordingly,the Courthas considered the Reportand

Recommendations,andthepertinentpartsoftherecord,counsel'sresponsestatinghedoesnotobject
to theM agistrate Judge'sReportandRecomm endations. Based on thereasonsstated in theReport

oftheM agistrateJudge,and upon independentreview ofthefileand being otherwisefully advised

in the prem ises,itis

        O RDERED AND ADJUDGED thatUnited StatesM agistrate Judge PeterR.Palermo's

Reportand Recom m endation ishereby A D O PTED and A FFIR M ED .

        DONE AND ORDERED inChambersatM iami,Florida,this '
                                                         5 # dayofJanuary,2012.

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                                               JO SE .M A RTW EZ
                                               U NIT   STATES D IST CT JU D G E

Copiesprovided to:
M agistrate Judge PeterR .Palerm o
StuartA delstein,Esq
Lucy Lara,CJA A dm inistrator
